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                          EXHIBIT B
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                                                                                      8l'1012015 8:00:00 AM
                                                                                                             Velva L. Price
                                                                                                            District Glerk
                                                               003245                                       Travis County
                                      CauseNo. D-1-GN-15-                                                 D-1.GN.1s-00324s
                                                                                                              Ruben Tamez

Bnucs Mu¡¡no ¡¡¡o Bnucn MrrNno Stuoto,                     $               IN rHs DrsrRrcr    Counr
         Plaintffi,                                        $
vs,                                                        $               oF TRAVIS CoTINw, TexAs
                                                           $       34sTH
Lucv Acrrvlw¡eR,  INC., Lucv AtteRnL, LLC,                 $                   JuorcnlDrsrRrcr
VF OurnooR,INC., AND VF CoRpoRaNoN                         $
      DeJÞndants.                                          $


                                               Orisinal Petition

         World renowned artist Bruce Munro and Bruce Munro Studio ("Plaintif'f's" or

o'Munro") bring suit against Fortune 500 mega-retailer Vf,' Corporation and its consolidated


reporting companies Lucy Activewear,Inc., Lucy Apparel, LLC, and VF Outdoor,Inc.

("Defendants") for impermissibly basing a national branding, advertising, and PR campaign and

related large-scale exhibition entitled. Light Forest that promotes their     lucf     womenswear

apparel brand and.lucy@ Activewear stores on Munro's trademarks, trade dress, and

internationally-acclaimed, signature large-scale, immersive, light-based works known            as   Forest

of LighlrM      and, Field   of Light@ and usurping, interfering with, and misappropriating Munro's

valuable creative skills, efforts, resources, reputation, business opportunities, and life's work in

the process.

                                                   Discovery

          1.        Discovery shall be under Level    II of the discovery control   plans.

                                             Nature of the Action

          2.        These Defendants and their hand-picked advertising agency Mono           Advertising,

LLC ("Mono") intentionally           and maliciously exploited Munro's famous signatureField         of

Light@   and.   Forest of LighftM works and the associated marks, trade dress, goodwill, substantial

resources, and decades of effort that went into Munro's creation, production, and promotion                of
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these acclaimed works.

        3.     They did so fbr their own commercial benefit and to promote, publicize, and spur

apparel sales at their online and retail lucy@ Act:ewear stores and under their tucy@ apparel

brand via an extensive nationwide advertising and publicity campaign (hereafter, the

"Multimedia Campaign") centered around       a   welt-publictzed lucy@ branded exhibition of a

recognizable imitation of Munro's Field of Lighl@ and Forest of LighfrM works that Defendants

and Mono uncoincidentally named and extensively promoted as the Light Forest.

        4.     They did this with specific prior awareness of Munro and his stellar, global

reputation and acclaim as a successful, sought-after artist, of Munro's famous Fietd of Ligh¡@ and

Forest qf LighfrM works, trademarks, and trade dress, of Munro's rights in and related to those

works, of the public acclaim for and association of those famous works and their names and

recognizable trade dress with Munro, and of their own failure to negotiate permission from

Munro to use or employ Munro's works or associated intellectual property (despite multiple

exchanges with Munro's Texas representative about doing so). In fact, under ultimately ignored

promises of conf,rdentially, they had requested and previously received packets of information

from Munro's Texas representative about Munro, the famous Field of Lighl@ and Forest        of
Lighftu works, and prior exhibitions of those works.

         5.    Nevertheless, with the accompanying media exposure, publicity, and artistic

decorum of P,T. Barnum bringing the circus to town, Defendants and Mono launched their Light

Forestexhibition and associa   red,Light   ForestMultimedia Campaign,     *t i"t they promoted and
publicized with in-store displays, extensive "bvzz" guerilla-marketing efforts, related TV, video,

print, online, and social media ads, and consumer-engagement promotions all oriented around

and incorporating the   knock-oft confusingly-similarly    named Light Fores¡ exhibition.

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Defendants' Multimcdia Campaign appeared nationwide and in Texas and remains readily

available online.

          6.          Defendants (and Mono) unquestionably benefited immensely from their

unauthorized competitive exploitation and appropriation of Munro's works, efforts, and

associated intellectual property and business methods, which enabled them to more rapidly and

at significantly lcss cost and commercial risk design, develop, prototype, pitch, secure prime

civic exhibition space f'or, plan, launch, and publicize their Light Forest exhibition and

Multimedia Campaign without the attendant creative skills, efforts, and trial and error of starting

such a project or artistic endeavor from scratch or the accompanying uncertainty over how the

resulting work might eventually be received by potential exhibitors or the public,

          7.          Unsurprisingly, just like Munro's Fiekl of Light@ and Forest   o.f LighflY


exhibitions, Defendants' knock-off Zight Forest exhibition and Light Forest Multimedia

Campaign were an incredibly well-received successes, resulting in over 100,000 in-person

visitors, 307,000,000 PR media impressions, and untold apparel sales and profits for the

Defendants. Mono publicized and crowed over these results on its "Lucy Activewear" client site

http :¡,4n ono-   1
                      @y¿ear-1ÉLlþ&sl,                       where it also emphas ized that " [d] uring

the lLight Forest exhibition] event, 35o/o of all traffic to lucy,com came from

lucylightforest,com" and where it continues to make Multimedia Carnpaign materials publicly

available to this day. At typical industry valuations of $12 pcr thousand imprcssions, Defendants

inequitably benefited from their exploitation of Munro's works and intellectual property to the

tune of over $3"684.000 just on the value of these PR media impressions alone, The in-person

visitors were worth millions more.

           8.         Defendants and Mono continue to run, promote, publicize, sell under, and benefit

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from the Multimedia Campaign (which remains available on Mono's and lucy@-related web and

social media sites, including ryrv-u!-u-cJ,Ligbt-tþrçs!.ço-!n, h!!p:l1molq,.Lco-ut¿wprVlrpy:

ac¡¡1ygws4-L!gbl:fo[eq!, Twitter and Instagram hash-tags #lucylightforest, and Facebook page

httr¡s:/,rwu'w.facebook.com/mediaiseti?set:a.101 51920847704489.101374L830.3!389722448ß&,t

ypr:3),   despite written notice from Munro in August 2014 demanding that they cease doing so.

                                             Recovery & Relief

          9.       Defèndants are liable for fiaud, misappropriation, trade dress and trademark

infringement, false designation of origin, dilution, injury to business reputation, tortious

interference, unfair competition, conspiracy, and unjust enrichment under common law, Texas

and federal statutes, and equitableprinciples. E.g., 15 U.S.C. $$ 1114         -   1118, 1125(a) and (c),

and 1126; Tex. Bus.     & Com. Code $$ 16.103-.104

          10.      Munro is entitled to an award of injunctive, monetary, declaratory, exemplary,

and equitable relief, including an accounting and a constructive trust.

          I   1.   Munro seeks monetary relief of over $ 1,000,000 and other non-monetary relief.

See Tex. Rule Civ. Pro. 47 . The damages sought are          within this court's jurisdictional limits.

          12.      All claims   and causes of action are based on the same operative facts.

                                                   Parties

          13.      Plaintiffs Bruce Munro and Bruce Munro Studio are residents of England with

business activities in Texas and the Unitcd States.

          14.      Defendant Lucy Activewear, Inc.     ("LAI") is a Delaware corporation operating in

Texas.   LAI   is headquartered    at270l Harbor Bay Parkway, Alameda, California 94502, its

registered address is 3411 Silverside Road, Suite 200 Hanby Building, Wilmington, Delaware

19810, and its Delaware registered agent is Corporation Service Company, 2711 Centerville

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Road, Suit 400, Wilmington, Delaware 19808.        LAI does not    have a registered agent for service

of process in Texas and thus may be served via Texas' Secretary of State.

          15.    Defendant Lucy Apparel,LLC ("LLC") is a Delaware company operating in

Texas. LLC's registered address is 3411 Silverside Road, Suite 200 Hanby Building,

Wilmingtono Delaware 19810, and its Delaware registered agent is Corporation Service

Company,     27ll   Centerville Road, Suit 400, Wilmington, Delaware 19808. LLC does not have a

registered agent for service of process in Texas and thus may be served via Texas' Secretary        of

State.

          16.    Defendant VF Outdoor, Inc. ("VFO") is a Delaware corporation operating in

Texas. VFO is headquartered at2701 Harbor Bay Parkway, Alameda, California 94502, its

registered address is 3411 Silverside Road, Suite 200 Hanby Building, Wilmington, Delaware

19810, and its Delaware registered agent is Corporation Service Company, 2711 Centerville

Road, Suit 400, Wilmingtono Delaware 19808. VFO does not have a registered agent for service

of process in Texas and thus may be served via Texas' Secretary of State.

           17.   Defendant VF Corporation ("VF Corp") is the $12 bitlion Fortune 500 apparel

and footwear manufacturer and retailing conglomerate behind the lucf ,Wrangler@, Vans@,

Lee@,    Nauticat, Timberland@, North     Face@, and other   well known apparel brands and retail

stores. Defendants    LAI, LLC,   and   VFO are consolidated reporting divisions of VF Corp. VF

Corp is headquartered at 105 Corporate Center Blvd., Greensboro, North Carolina 27408 and has

extensive Texas operations. VF Corp does not have a registered agent for service of process in

Texas and thus may be served via Texas' Secretary of State.

           18.   LAI, LLC, VFO, and VF Corp are collectively referred to herein as "Defendants"

or "Lucy." On information and belief, the Defendants jointly and collectively (a) control and

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profit from business done under the tucf brand and through the lucy@ Activewear stores; (b)

own, operate, and control either directly or indirectly all brand and store related assets, sales, and

revenues; and (c) amount to a single business enterprise and act as agents ofone another for

lucf   bratd-related matters and business. Accordingly, though      LAI   serves as the public face and

primary operating entity for lucy@-related activities, each Defendant is directly, vicariously, and

jointly responsible and liable for all Defendants'   lucf   fuand-related activities, including the

activities alleged herein.

                                       Jurisdiction & Venue

         19.    The amount in controversy exceeds this court's minimum jurisdictional amount.

         20.    Each Defendant does regular business in Texas, has sufficient due process Texas

minimum contacts to compel it to appear and respond in this action, is subject to this court's

personal and subject matter jurisdiction, and is subject to process under the Texas long-arm

statute and other law. See Tex. Civ. P.   & Rem. Code $$ 17.041-.045; Tex. R. Civ. P.      120a.

        2L      Defendants have significant, ongoing business in Texas. They own and operate

lucy@ Ãctivewear retail stores in Houston, Dallas, San Antonio, and Grapevine. Every day they

promote and sell   tucf   branded merchandise to Texas (and Travis County) residents through

their Texas stores, catalogs, and online outlets and through and under TV, print, social media,

and online advertising, including via their exploitive Light Foresr Multimedia Campaign.

        22,     On behalf of Defendants, their agent Mono spoke and made promises to,

corresponded with, and requested and received Field oJ'Lighl@ and Forest of Light rM-related

materials from Munro's Austin-based representative. These substantive communications form, in

part, the basis for these claims and occurred at least in part in Austin, Texas,

        23.     Venue is proper in Travis County, Texas because a substantial part of the events

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giving rise to the claims occurred in Travis County.

                                Agency & Vicarious Responsibility

        24.    Defendants and    LAI retained      and hired Mono as its advertising, branding, and PR

agency on and for the   lucf   brand and   tucy@   Activewear stores, including for all matters

pertaining to he Light Forest exhibition and Multimedia Campaign

        25.    Mono acted, spoke, and served as Defendants' and LAI's agent and

representative on the matters described herein, including in all of its communications and

interactions with Munro or related to the Light Forest exhibition and Multimedia Campaign.

Mono acted with and had actual and apparent authority. Mono's actions and statements described

herein were within the scope of and in furtherance of its agency and authority.

        26.    Defendants and    LAI ratified, adopted,     and benefited from Mono's acts and

statements.

        27.    Mono facilitated, encouraged, materially assisted with, directly participated in,

and aided and abetted Defendants' and      LAI's conduct and activities described herein.

        28.    A1[ statements, actso and knowledge of Mono are attributable to Defendants and

LAI.

        29.    Defendants are vicariously and directly responsible and liable fot Mono's acts,

statements, conduct, decisions, and omissions described herein.

                                            Discovery Rule

        30.    The discovery rule, the doctrine of equitable tolling and estoppel, and the

continuing tort doctrine apply to Munro's claims. Defendants' and Mono's activities and

falsehoods underlying Munro's claims were concealed from Munro and were inherently

undiscoverable, even through the exercise ofreasonable care.

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                                     The   Artist Bruce Munro

        31,    Bruce Munro is a globally acclaimed and internationally recognized artist best

known for large-scale, immersive, light-based works, sculptures, installations, and exhibitions,

which he produces through his studio, Bruce Munro Studio.

        32.     For most of his life, Munro has learned, refined, and practiced his craft and

artistry, which has been and is his livelihood and lifc's passion.

        33.    From Munro's signifìcant investment of time, energy, and resources into his craft,

Munro has developed a unique and signature style that the public and the aft community values,

appreciates, and associates with Munro and Munro's works.

        34.    Munro's works are desired and lauded around the world and have been displayed

and exhibited at preeminent and notable galleries, facilities, and public spaces that included

Houston's Discovery Green Park, the United Kingdom's Salisbury Cathedral, the Atlanta

Botanical Gardens, and Pennsylvania's Longwood Gardens-one of the most famous display

gardens in all of North America. Munro's exhibitions, particularly of his famous signature Field

of Light@ and Forest oJ'Lightrr't works, routinely generate substantial media, public, and online

interest and underwriter sponsor support, driven in part by attendant authorized seminars,

presentations, events, and multimedia and social media promotions.

        35.    Munro's honors include the Guggenheim Museum's 2010 invitation in

celebration of its 5Oth anniversary to display in the inspirational rotunda of the Frank Lloyd

V/right-designed Guggenheim building in Manhattan, a20l I A¡tist of the Year Award from

Wiltshire Li/ë Magazine, and the 2013 American Alliance of Museums Excellence in Exhibition

Award, Munro and the Munro works are also f,requent subjects of articles, media interviews,

stories, and reports, including a PBS documentary.

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        36.    Private art collectors and investors also retain and commission Munro to produce

specially-cornmissioned, high-value works. These commission opportunities and sales are

spurred largely by Munro's exhibitions and their attendant publicity and interest.

              Munroos Acclaimed Forest of         LighfY      and Field of Light@ Works

        37.    Munro created and owns all rights associated with the highly acclaimed Field oJ'

Light@ and.Forest of LighttM works.

        38,    Fietd oJ'Lighl@ and Forest oJ'LightrM are Munro's best-known works. They

incorporate and   typift   the unique large-scale, immersive, lighrbased signature style that the

public has come to associate with Munro, which the Washington Post in2012 colloquially

described in part as a "recuning motif of lights on stalks."

        39.    Fietd of Lighf@ and Forest     r¿f LighfrM   are Munro's calling card. They are the

primary driver of and hold inestimable value to Munro's business and livelihood,

        40.    Munro expended substantial time, effort, labor, money, and resources conceiving,

developing, designing, making, promoting, and displaying the Field of Lighl@ and Forest                   of
LighfrM works, as well as their associated business, production and promotional models.

        4L     During the past decade, Munro has presented and exhibited Field of Light@ and

Forest of LighfrM at preeminent facilities, venues, and public spaces worldwide, including in

Texas and around the United States. Field of Light@ and Forest of LighfrM have been seen and

visited by millions of pcople and lauded in myriad media and online reports, including for

example feature articles in the Washington Posl. Exhibitions of       .F i e   ld of Light@   and.   Forest   of
Lighfrv have consistently driven media and public interest, attendance, revenues, and publicity

for exhibitors and Munro and have regularly resulted in hundreds of thousands of attendees,

millions in underwriting, ticketing, gift shop, and food court revenues, and immensely valuable

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PR media impressions and online and social mcdia engagement,

        42.    Munro works with exhibitors (like Longwood Gardens and Tennessee's

Cheekwood Botanical Gardens & Museum of Art) to collaboratively generate positive regional,

national, and international publicity and coverage for and interest in Munro's exhibitions of Field

of Light@ and Forest of LighfrM. Those efforts include traditional PR and online and social media

campaigns built around the splendor of Munro's works. Results include widespread media

reporting on Munro's works and Munro, as exemplifìed by the llashington Post article.

        43.    Exhibitors also receive valuable substantial increases in web traffic and

traditional and social media mentions for Munro Field of Light@ and Forest of LighirM

exhibitions versus a typical exhibition, with some reporting more than double their ordinary

number of unique website visitors during Munro's exhibitions,

        44.    Beyond the stunning artistic beauty of Munro's creations, tangible results such

these-driven largely by the unique nature and recognizable signature aspects of Munro's

creations-underlie exhibitors' desire and demand for Munro's Field of Light@     and Forest   of
LighttM and their exhibition.

        45,    From mid summer to early lall of 20D, Munro exhibited Fietd     o.f Lighl@ and


Forest of LightÌM at Pennsylvania's Longwood Gardens to regional and national publicity that

included feature reports on Munro, the exhibit, and Field of Light@ and Forest of LighfrM in

national publications such as the lT/ashington Posl. Munro's Longwood exhibition, which

Cheekwood Botanical Gardens & Museum of Art later described as "wildly popular" in

announcements for its own subsequent Munro exhibition, drew over 300,000 attendees, many

from more than three hours away. How popular was it? By comparison, the Rolling Stones'

2014 concert tour, one of the top tours of 2014, drew 651,816 attendees. In just one exhibition at

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Longwood, Munro and Munro's Fietd of Light@ and Forest of LighfrM works drew roughly half

that. As Longwood's director Paul Redman noted to the llashington Posl about Munro, o"'When

that exhibit opened, he was a rock star. He was a rock star."'

                    Munro's Intellectual Property and the Famous Trade Dress and
               Trademarks associated with Munr ús Forest of Líghfv and Fíetd of Líght@

               46.    Munro owns and uses registered and common law marks in connectionwith Field

of Light@        and. Forest   of LighftM and Munro's related activities and endeavors. They include the

United Kingdom registered mark Field of Light@ (UK Reg. No. UK0000255g786,registered
                                                                                       ooMunro
Dec.   3   1   , 2010) and the common law mark Forest o.f LightrM (collectively, the             Marks"),

               47.    Munro's Field of Lighl@ and Forest of LightrM works incorporate, exemplif', and

have associated with them (and with Munro) a particular, valuable trade dress consisting of a

non-functional design that is both inherently distinctive and distinctive by virtue of having

acquired secondary meaning (the "Munro Trade Dress").

               48,    The Munro Marks and the Munro Trade Dress and their goodwill are valuable

important intellectual property assets of Munro.

               49.    Munro adopted, used in commerce, and publicized the Munro Marks and the

Munro Trade Dress in the United States, the United Kingdom, and elsewhere in connection with

the   Fietd oJ'Light@      and.   Forest of LighftM works, Munro exhibitions, and associated Munro

endeavors. Munro has continuously used those marks and trade dress in the United States, the

United Kingdom, and elsewhere. (Accordingly, Munro is also entitled to protections for the

Munro Marks and the Munro Trade Dress underls U.S,C. $ i 12ó and associated international

conventions and treaties.)




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        50.    Munro, Munro's Field of Lighl@ and Forest of Lighftv works, and Munro's

associated exhibitions have achieved outstanding critical success and widespread recognition,

including with public, the media, the arts community, and exhibitors.

        51,    Based on Munro's tremendous work and effort and the immense goodwill that

Munro, the Munro Marks and Trade Dress, and the Field of Lighl@ and Forest of'LighttM works

and associated exhibitions have engendered, Munro's works and exhibitions are desired, valued,

and rank among exhibitors' most appreciated and best attended. They often are among

exhibitors' top annual attendance- and revenue-generating art events and routinely draw

attendees from hours away.

        52.    Munro and the Fietd of Lighl@ and Forest of LighfrM works have achieved a

reputation for high-quality, well-attended, highly-appreciated, revenue-enhancing exhibitions,

Gallery, venue, and public and civic event space curators and their undenvriters consequently are

eager to affiliate and associate with Munro for exhibitions and opportunities involving the Field

of Light@ and Forest of Lighfrv works and associated sanctioned artistic events, activities, and

promotions under or connected with the Munro Marks and the Munro Trade Dress.

        53.    As a result of the immense goodwill and interest engendered by Munro and the

Field of Lighl@ and Forest of LighfrM works, Munro's endeavors have grown to include an online

presence, books, publications, videos, and documentaries on Munro and Munro's works.

        54.    The goodwill Munro developed in the Munro Marks and the Munro Trade Dress

is an asset of inestimable value to Munro. It is critically important to Munro's livelihood, to

Munro's artistic reputation, and to Mumo's marketing and promotion of his works, services, and

endeavors, including exhibitions of Munro's Fietd of Light@, Forest of LighfrM, and other works,

sponsored underwriting, and sales of specially commissioned works,

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        55,     Munro spent years of time, labor, money, and effort establishing the Munro

Marks and the Munro Trade Dress in the minds of consumers-including gallery, venue, and

public event space curators, underwriters, collectors, art enthusiasts, and the public-as

representative of high-quality, distinctive works and quality exhibitions. As a result, consumers

associate the Munro Marks and the Munro Trade Dress with not only Munro's Field of Light@

and Forest of   Lighftv works but also with Munro      as an acclaimed artist and provider and


producer of successful, high-quality, critically-acclaimed exhibitions and related officially-

sanctioned services and merchandise.

         56.     The Munro Marks and the Munro Trade Dress are inherently distinctive and are

associated in the minds of consumers, the public and the trade with Munro, Munro's Field         of
Light@ and Forest of LighfrM works, and Munro's associated exhibitions. The Munro Trade

Dress is arbitrary and fanciful and is entitled to the highest protections afforded by law.

        57.      As a result of the extensive publicity, advertising, promotion, and acclaim of and

for Munro, Munro's Field of Light@ and Forest of LighfrM works, and Munro's associated

exhibitions and endeavors under the Munro Marks and the Munro Trade Dress, the Munro Marks

and the Munro Trade Dress are famous within the meaning of the Lanham Act and similar state

laws and have acquired secondary meaning so that they have come to identi$ Munro as the

source of such works and associated goods, services, exhibitions, events, and activities and so

that any product, service, event, exhibition, promotion, or advertising bearing, incorporating, or

marketed under such marks or trade dress or and confusingly-similar imitation thereof is

associated by consumers, the public, and the trade as being affiliated with Munro.

                    The Defendants use and retain Mono to Rebrand and
                Promote their lucy@ Activewear Stores and lacy@ Apparel Brand

        58.      Defendants are consolidated reporting companies within VF Corp, one of the
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world's largest manufacturers and retailers of apparel and footwear and        a Fortune 500 cornpany


with over $1 billion in net income and $12 billion in revenues in2014,

        59.    Together, the Defendants manufacture, promote, and sell women's activewear

under their tucy@ apparel brand through branded online retail outlets and via a national chain      of

lucf   Activewear retail stores that they own and operate. Defendants have multiple lucy@

Activewear and othcr storefront retail outlets in Texas.

        60,    LAI   is the consumer-f'acing organization for the    lttcf   brand and the /ucy@ stores

and has significant operational input, including on     all matters described here, Nevertheless, all

Defendants benefit from sales under the lucy@ brand and the lucy@ stores and participate directly

or indirectly in those sales and related business activities.

        6L      Mono Advertising,LLC is an advertising agency operating under and partially

owed by advertising conglomerate MDC Partners, Inc. Defendants, including LAI, used and

retained Mono as their advertising agency of record in connection with branding, advertising,

and publicity initiatives for Defendants' lucy@ apparel brand and lucy@        Ãctlewear retail stores.

        Defendants knock off Munro's Marks, Trade Dress and Forest of Ligh{M
         Field of Líght@ Works for their Mono-designed National Womenswear PR
       and,
    and Advertising Campaign Promoting their lucyt Apparel Brand and Retail Stores

        62.     Following Munro's successful and well-publicized Longwood Gardens

exhibition, Mono producer and employee Melissa Rothman approached Munro representatives to

discuss and propose an advcrtising, branding, and experiential promotional campaign for

Defendants'   Iucf   apparel brand and, tucy@ Activewear stores. Ms. Rothman explained that she

was working on behalf of the Defendants and Mono and that the planned campaign would be

designed around and promoted via a commercially publicized public exhibition of Munro's

Forest of LighfrM or Field of Light@ works and related tag-along social and traditional media

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publicity initiatives.

           63.     Ms. Rothman discussed with Munro's Austin-based representative the prospective

Iucf   project, Munro's Field oJ'Lighl@ and Forest of LighfrM works, and their prior exhibitions

(which she knew of) and followed up with additional correspondence with Munro's Austin-based

representative on those subjects.

         64.       During the discussions, Ms. Rothman requested additional information and

materials about Munro's Field of Light@      and,   Forest oJ'LightrM works and exhibitions, related

attendance figures, achieved online/multi-media traff,rc, and promotional methods used for the

exhibitions. Ms. Rothman explicitly agreed and specifically promised to keep all provided

materials confidential.

         65,       In reliance on these promises and representations, Munro's Austin-based

representative sent Ms, Rothman a packet containing the requested information. The packet

included multiple illustrations of Munro's Fietd of Lighl@ and Forest of LighfrM works, examples

of the use of the Munro Marks and Munro Trade Dress, discussions on business methods used to

effectively promote Munro's exhibitions and drive attendance and online engagement, attendee

survey results and comments regarding awareness, interest in, and appreciation of Munro's

works, and other data supporting the value proposition to exhibitors and attendees of exhibitions

promoted using the Munro Marks and Munro Trade Dress and featuring Munro's works.

         66,       At that time, public officials in Boston's Mayor's Office of Arts, Tourism &

Special Events were also courting and had contacted Munro. They had seen and experienced

Munro's Longwood Gardens exhibition, were rnesmerized by it, and expressed intense interest in

bringing   a   public exhibition of Munro's works to Boston in the upcoming year. During

discussions between Munro's Austin-based representative and Mono's Ms. Rothman, this

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opportunity was mcntioned as an upcoming chance for Defendants to underwrite a major

metropolitan public exhibition of Munro's Fiettl oJ'Light@ or Forest oJ'Lightru works in the near

future (while avoiding overt commercialization of Munro's works).

        67,    Shortly thereafter, however, Mono and Ms. Rothman ceased communications

with Munro's representatives about the      lucy@ proposal.   Munro and Munro's representatives did

not hear from Ms. Rothman or Mono (or the Defcndants) again and were lcft to assume that

Mono and the Defendants had simply decided to shelve the proposed project and go in an

entirely different direction with Defendants' upcoming lucy@ advertising and branding campaign.

        68,    Not long after, communications with Boston public officials on the opportunity

for an exhibition tapered off, too.

        69     Unbeknownst to Munro, Defendants and Mono had not shelved the project,

        70.    Instead, they were secretly proceeding     full   steam ahead. Using the additional

knowledge and information they gained (under promises of confidentiality) about Munro's Field

of Light@ and Forest of LighftM works, Munro's immersive, large-scale exhibitions of those

works, methods to publicize and drive online engagement and in-person attendance at those

exhibitions, attendance figures and attendee feedback, and other associated competitive business

information acquired from Munro's Austin-based rep, Defendants and Mono set about planning

and developing an independent tuqP public exhibition.

        71,    In brcach of their earlier promises of confidentiality, Mono and the Defendants

referenced and used the confidentially supplied materials and information to plan out and design

and develop their planned exhibition and promotional methods, That exhibition, which would

stay the focal point of the   lucf   national branding, advertising, awareness, and social media

campaign for Defendants' lucy@ apparel brand and lucy@ Activewear stores, was unabashedly

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modeled after and on Munro's Fietd of Lighl@ and Forest of LighfrM works, the Munro Marks

and Munro Trade Dress, and Munro's business and promotional methods.

           72.   Defendants and Mono quickly (and not coincidentally) selected       Boston-the city

courting   Munro-for their ftrst lucy@ exhibit,   even though lucy@ Ãctivewear's base was on the

weqt coast. They and their agents also contacted local and regional public ofhcials, secured a

prominent Boston public space for their competitive, knock-off lucy@ exhibition, and planned out

associated logistics.

           73.   As result of Mono's and Defendants' actions, Boston officials on information and

belief ceased discussions with Munro for a Boston-area exhibition. Consequently, Munro lost

that premier exhibition opportunity as well as the commensurate publicity, engagement, specialty

commissions, private sales, revenues, and momentum for follow-on exhibitions of Munro's large

scale, immersive, light-based works that a Boston exhibition would bring. Defendants on the

other hand, on information and   beliel usurped that opportunity with their own      /øcy@   exhibition.

           74.   By modeling their planned exhibit on and after Munro's obviously successful

Field of Lighl@ and Forest of LighfrM works, Munro Trade Dress, Munro Marks, and Munro's

production, promotion and business methods, Defendants and Mono assured their project's

success and avoided the significant costs, delays, creative insights,   trial and error, labor,

planning, and resources ordinarily necessitated to conceive of, design, refine, and successfully

implement an endcavor of the scope and scale of Munro's large scale, light-based, immersive

works or of Defendants' knock-off imitation.

                          Defendnnts and Mono launch their Knock-off
                   Light Foresl Exhibit and Nationwide Multimedia Campaign

           75.   To widespread promotion, publicly, and public interest, Mono and the Defendants

unveiled along the banks of Boston's Charles River Esplanade their own public exhibition of a
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strikingly-similar, large scale, immersive, light-based work they dubbed the Light Forest,They

made the Light Foresr exhibition the fbcal point of an identically-named national branding,

advertising, awareness, and online and social media engagement campaign for Defendants' lucy@

apparel brand and lucy@ Activewear stores (i.e., the Multimedia Campaign) using images, copy,

visitor comments and photos, and promotions from and relating to the knock-off exhibition.

        76.      In competition with Munro (including for exhibitors, attendees, and publicity),

Mono and Defendants heavily cross-promoted the Light Foresr exhibition both localty and

nationally, including through social media engagement campaigns and "earned" ot'obtJzz" media

press mentions.

        77   ,   Unsurprisingly, Defendants' knock-off Light Fores¿ exhibition and the associated

long-term Multimedia Campaign, which included national TV and web spots, print, in-store

mock-up displays, and extensive experiential, online, and social media promotion and

engagement, were an immense success. Mono announced on its "Lucy Activewear" client site

http:/,¡nrono-l.cony'work/lucy-activewear-light-forest   that the Light Foresr exhibition and

derivative Multimedia Campaign drew over 100,000 in-person visitors, fueled over 307,000,000

related PR media impressions, and successfully drove web-traffic, interest, engagement, and

sales for Defendants' tu"y^ apparel brand and,lucy@ Activewear stores.     In industry presentations,

Mono founder and senior executive Jim Scott bragged that the Light Fores¡ exhibition and

Multimedia Campaign "ha[d] brought incredible results,"

        78.      The knock-off lucy@ Light Foresl Multimedia Campaign remains live and visible

online and, on information and belief, Defendants and Mono continue to promote the lucy@

apparel brand and lucy@ Activewear stores and market and sell apparel and merchandise under

the derivative Multimedia Campaign. Defendants and Mono also publicized their intent to hold

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more Light Forest exhibitions in additional cities, citing in part thc succcss and nationwide

interest generated by the fìrst exhibition.

         79.      On information and belief, Defendants have sold at least tens of millions   of

dollars of apparel and merchandise through their lucy@ Aclivewear stores and under the lucf

apparel brand during the course of and in connection with the knock-off Light Foresl exhibition

and   Light Foresr Multimedia Campaign. Indccd, for some time Defendants' primary branding,

marketing, and consumer engagement and outreach initiative for their lucy@ brand.was the

Multimedia Campaign.

         80.      Defendants' competitive Light Fores¿ exhibition and associated Multimedia

Campaign was and is little more than an unauthorized and confusingly similar commercial

imitation, replication, exploitation, and use of Munro's Field of Lighl@ and Forest of LighfrM

works, associated business and promotional methods, and the Munro Marks and Munro Trade

Dress, which Defendants and Mono exploited and appropriated to promote and publicize

Defendants' own brands, stores, and products by associating Munro and his valuable goodwill

with Defendants' lucy@ brand and offerings without approval from or compensation to Munro.

         81   .   Defendants' and Mono's absence of independent creativity or thought on the

Light Forest exhibition and associated Multimedia Campaign is readily apparent. Tellingly,

Defendants and Mono sirnply used and transposed the words of Munro's protected Forest              of

LighfrMmark (and      a   portion of Munro's Füetd of Liyhl@ UK mark) to come up with the

confusingly similar and virtually identical "Light Forest" moniker that they used to market and

promote the exhibition, the Multimedia Campaign, and Defendants' lucy@ apparel brand and

Iucf    lctivewear stores.

         82.      They also adopted and slavishly imitated a combination of inherently distinctive

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(and distinctive through secondary-meaning), non-functional design fcatures and elements                of

Munro's Trade Dress from Munro's signature Fietd of Lighl@ and Forest of LighftM works

(including but not limited to the large-scale, immersive, light-based design utilizing arrays of

thousands of short, end-lighted stems with variably      lit bulbs traversably laid out upon   a


predominantly green space), resulting in their Light Fores¡ exhibition and derivative Multimedia

Campaign substantively and noticeably imitating and reflecting the overall image, design,

appearance, look, and f-eel of Munro's Trade Dress, Munro's Fietd oJ'Lighl@ and Forest             of

Lightrur works, and Munro's exhibition methodologies.

          83.   On information and belief, Defendants and their agents knowingly, willfully, and

in bad   faith-with   the specific intent to usurp and obtain the benefit of public goodwill

associated with Munro, Munro's works, and the Munro Marks and the Munro Trade Dress after

specific observation and analysis of and reference to the Munro Marks and the Munro Trade

Dress, including via visual observations and analysis of the Fietd of Lighl@ and Forest of LighttM

works or reproductions thereof and via the materials and information Munro confidentially

provided to Mono that illustrated the Munro Trade Dress and displayed and named the Field                of

Light@ and Forest of LighflM works-selected, adopted and used terms, slogans, and designs

confusingly similar to the Munro Marks and the Munro Trade Dress

          84.   Defendants' and Mono's adoption and use of these confuse similar terms, slogans,

and designs in their Light Foresr cxhibition and Multimedia Campaign post-date Munro's use in

commerce of the Munro Marks and the Munro Trade Dress in the United States and in the

United Kingdom,

          85.   The exhibitions, activities, experiences, and events promoted and conducted by

the Defendants and the merchandise and brands promoted and sold by the Defendants under or in

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connection with their unauthorized use and exploitation of the Munro Marks and Munro Trade

Dress compete with authentic offerings available fiom Munro and from Munro's legitimate

authorized exhibitors, licensees, and sponsors.

        86.      The Defendants use and have used the term "Light Forest" and the overall look

and feel of the Munro Trade Dress on advertising, promotional, and publicity materials and

efforts connected with thcir business in manners identical or confusingly similar to Munro's use

of the Munro Marks and Munro Trade Dress, The Defendants' selected "Light Forest" moniker

and trade dress for the Light Forest exhibition and Multimedia Campaign are identical to or are

confusingly similar, colorable variations of the Munro Marks and Munro Trade Dress,

        87.      On information and belief, the Defendants' offerings under their imitations of the

Munro Marks and Munro Trade Dress are of dissimilar quality from competitive offerings

available from Munro and Munro's legitimate authorized exhibitors, licensees, and sponsors.

        88,      Defendants (and Mono) by their acts described herein have caused their goods,

services, and misleading advertising and promotions to be displayed and sold in interstate

commerce in the United States, Texas, and Travis County under the knock-off Zight Forest

exhibition   and, Light   Foresl Multimedia Campaign.

        89.      Without authorization, the Defendants (and Mono) have used in interstate

commerce a reproduction, counterfeit, copy or confusingly similar or colorable imitation of the

Munro Marks and Munro Trade Dress in connection with the sale, offer for sale, distribution,

advertising and promotion of goods, merchandise, services and events, with such uses being

likely to cause confusion or to cause mistake or to deceive. The Defendants' (and Mono's)

prominent and extensive use and display of confusingly similar, colorable imitations of Munro's

famous Forest of LighfrM nam.e and the famous Munro Marks and Munro Trade Dress in

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advertising and on promotional materials for the Defendants' offerings has caused and is likely

to cause contirsion and mistake among the purchasing and consuming public, or         will   deceive the

purchasing and consuming public as to the origin, sponsorship, or approval of the goods,

merchandise, services, events, and activities of the Defendants and/or otherwise cause confusion

or mistake among the purchasing and consuming pubtic or deceive the purchasing and

consuming public.

        90.    Munro has no control over the nature or quality of the Defendants' (or their agent

Mono's) offerings under the "Light Forest " moniker or the imitated Munro Trade Dress, Any

failure, neglect, or default by them has or   will reflect adversely on Munro   as the perceived source


of origin or approval of the Defendants' offerings, thereby hampering efforts by Munro to

continue to protect Munro's and the Munro works' outstanding reputation and resulting in a loss

of goodwill, reputation, fees, sales, publicity, and exhibition opportunities and a loss of the

considerable expenditures that have been made to create, establish, and promote Munro, Munro's

works, and Munro's legitimate offerings under Munro's marks and trade dress, all to the

irreparable harm of Munro.

        91.    To the great detriment of Munro, the Defendants' unauthorized use of the famous

Munro Marks and Munro Trade Dress and imitations and derivations thereof has resulted in the

dilution of the exclusive rights that Munro is entitled to enjoy in connection with these marks and

trade dress and their use in connection with the promotion of Munro's and authorized exhibitors'

or licensees'works, exhibitions, merchandise, services and events.

        92.    The Defendants' (and their agent Mono's) unauthorized use of Munro's famous

Munro Markso Munro Trade Dress, and imitations and derivations thereof in connection with

their activities described herein is likely to cause confusion, mistake, or deception as to the

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affiliation, connection, or association of the Defendants with Munro or as to the identity, origin,

sponsorship, or approval of the Defendants' offerings such that consumers and purchasers          will   be

likely to associate or have associated the Defendants' offerings (including activities, events,

exhibitions, merchandise, apparel, brands, and services) with and as originating from or being

approved or recommended by Munro,

        93.     Defendants' (and their agent Mono's) imitation of Munro's acclaimed signature

works, choice of a virtually identical moniker f'or their exhibition and Multimedia Campaign,

decision to first exhibit in the identical locale that was courting Munro for   a   public exhibition,

and use of strikingly similar promotional methods were not mere coincidence. The decisions

were part of a thought-out plan by Defendants and Mono to wholly appropriate for their benefit,

useo and advantage the features,   goodwill, and successful track record of Munro's Fietd of Light@

and Forest of   Ligþ¡ru works and exhibitions for their own Light Foresl exhibition, their own

derivative promotional, advertising, branding, social media, and online Light Fores¡ Multimedia

Campaign, and their own promotion and sa\e of     lucf   goods and apparel thereunder, alt without

the attendant costs of fairly compensating Munro or the attendant lead time, project risk profile,

trial and erroro and costs, labor, and creative skills and efforts necessary to conceive, design, and

develop a dissimilar (yet still publicly desirable) work and exhibition from scratch.

        94.      Put simply, despite their prior specific awareness of not only Munroo Munro's

works and exhibitions, the Munro Marks and Munro Trade Dress, and Munro's associated

methodologies but also of their failure to secure Munro's approval for and agreement to their

project, these well-funded, sophisticated Fortune 500 Defendants and their large, hand-picked

advertising agency nevertheless knowingly appropriated for their own use and based a multi-

million dollar, consumer-oriented branding, publicity, and sales campaign for         a national apparel


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retailer on unauthorized, confusingly similar knock-offs of world-renowned artist Munro's

fämous acclaimed signature works, marks, trade dress, and methods.

        95.      Published interviews, press releases, and project photos show top Defendant

executives responsible for the lucy@ brand, and myriad Mono personnel to be deeply involved

throughout this ill-conceived, wrongful project and in the decisions facilitating it,

        96,      Defendants have unjustly and wrongfully benefited from their and their agent

Mono's activities alleged herein and Munro has been substantially harmed by those activities.

        97   .   Via their unauthorized use of the Munro Marks, Munro Trade Dress, associated

goodwill, Munro's methodologies, and other materials obtained under promises of

confidentiality, Defendants and their agent Mono have (among other things):

        .    Obtained, exploited, and used Munro materials under false pretenses and for
             competitive purposes, generating immense publicity and business revenues for
             Defendants, Mono, and the   tucf   brand, stores, and apparel in the process.

        a    Appropriated Munro's resources, creative skills, and efforts to make and launch for
             competitive business and promotional purposes their own confusingly similar
             imitation of Munro's acclaimed signature Forest of LightrM and,Field of Light@ works
             and their inherento distinctive, and famous trade dress.

        a    Adopted and used the distinctive Munro Trade Dress and the confusingly similar
             "Light Forest" moniker f-or commercial promotions and ofïerings competitive to
             Munro's activities and endeavors associated with Munro's Forest of LighfrM and
             Field of Lighl@ works.

        a    Comnrercially affiliated the lucy@ brand, stores, and merchandise with Munro, with
             Munro's Forest of LighlrM and, Fiekl of Light@ works, and with the Munro Marks and
             Munro Trade Dress via cxtensive local, national, and online promotion of the Light
             Forest exhibition via the associatedZight Forest Multimedia Campaign, which
             visibly derived from, imitated, and appropriated Munro's Forest oJ'Lightru and Field
             oJ'Light@ works, marks, trade dress, associated goodwill, and exhibition and
             promotional rnethodolo gies.

        a    Saturated the New England market (and online and social media) with promotions for
             and drew attendees and publicity to the competitive knock-off Zight Forest
             exhibition, diminished the ability of regional exhibitors and public spaces to draw
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            attcndees or intercst in and reduced dcmand for a subsequent Munro exhibition in that
            geographic region, and damaged and usurped prospective Munro business
            relationships and opportunities to exhibit Forest of LighfrM and Field oJ'Light@ and to
            generate publicity, attendance, fees, private sales, follow-on engagements, and
            specialty commissions, particularly in and around the New England area.

       a    Exploited Munro's Forest of LighfrM and Field of Light@ and Munro's associated
            efforts, marks, and trade dress via a series of advertisements, videos, television
            commercials, websitcs, and in-store displays and an ongoing buzzmarketing and
            social media campaign that centrally and thematically featured and used Defendants'
            Forest of LighfrM and Field of Light@-derived "Light Forest" to promote Defendants'
            Iucf brand and spur sales of their merchandise and apparel.
        98,      As a result of Defendants' and Mono's activities described hereino Munto's

efforts, Munro's acclaimed signature works, and Munro's fämous trade dress and trademarks

were appropriated, imitated, diluted, blurred, and tarnished by Defendants and their agent Mono

and Munro was deprived and usurped of significant opportunities, including for exhibition and

promotion of his works.

           99.   As a dircct   consequence   of their wrongful and unlawful   acts, Defendants and

Mono also obtained and unjustly benefited fiom hundreds              of millions of   valuable PR

impressions, social media      blzz, web traffic, and publicity. Extensive, valuable publicity that

equitably and properly should have been received by or directed toward Munro and the Munro

works was instead directed toward Defendants and Mono, who received millions of dollars in

associated sales revenues as a result.

        100.     Defendants' and their agent Mono's actions have harmed and continue to harm to

Munro. Munro has suffered significant economic and non-economic harm, including stress and

anguish, as a consequence of Defendants' and their agent Mono's wrongful acts.

        101.     Defendants'and their agents'harmful activities are ongoing and will continue

unless enjoined by this Court. Indeed, Defendants' Light Forest Multimedia Campaign remains

publicly available, is ongoing, and continues to inflict advertising and other injuries on Munro,
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                                               Count I
                                    F   raud & Misrepresentation

        102.   Munro re-alleges the above paragraphs.

       103.    Defendants (and their agents) made false and fraudulent statements and promises

to Munro, including via Munro's Austin-based representative and that they would maintain the

confidentiality of materials and information that Munro provided to them on the Field of Light@

and Forest of LightrM works and     their exhibition.

        104.   Defendants (and their agents) made the statements and promises intending and

with an expectation that Munro and Munro's representatives rely on them, which they did.

        l0l.   The statements and promises were knowingly false when made or were made with

reckless disregard of their   falsþ, On information     and belief, Defendants and their agents did not

intend to maintain the conhdentiality of the rnaterials and information that Munro provided.

        106.   Contrary to their promise, Defendants (and their agents) did not maintain the

conflrdentiality of materials and information that Munro provided and, on information and belief,

instead shared them and their contents with others and used the materials and the information

contained therein to facilitate the creation, design, production, and promotion of the competitive

Light Fores¿ exhibition and associated Multimedia Campaign.

        107.   The fraud was inherently undiscoverable,

        108.   Munro suffered injury and harm as a direct and proximate result of this fraud.

        109.   Munro seeks to recover all damages and other relief to which Munro is entitled

for Defendants' fraud.

                                            Count II
                          Tortious lnterference with and Usurpation
                   of Prospective Business Opportunities and Relationships

        110    Munro re-alleges the above paragraphs.
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        II   l.   Munro had reasonable probabilities of prospective business opportunities to stage

a large-scale, public exhibition of Munro works, including Field of Lighf@ and/or Forest          of

LightrM, in the Boson vicinity and reasonable probabilities of prospective business relationships

with the City of Boston, the Boston Mayor's office, other local public officials, and affiliated

entities and arts organizations.

        ll2.      Defendants and their agent Mono were aware of Munro's prospective

relationships and opportunities, which Mono was informed of during discussions with Munro's

Austin-based representative.

        113.      On information and belief, Defendants and their agents wrongfully, intentionally,

witlfully,   and without   justification interfered with and usurped these prospective business

opportunities and relationships, including by contacting, soliciting, and presenting area officials

with proposals for their alternative, self-financed, knock-off   Z   ight Forest exhibition and

associated Multimedia Campaign, thereby foreseeably inducing and causing co-parties to

discontinue discussions with Munro regarding a prospective exhibition.

        ll4.      On information and belief, Defendants usurped Munro's exhibition opportunity to

launch their competitive, knock-off Light Forest exhibition in Munro's place.

        115.      The interferences and usurpations directly and proximately caused Munro injuries

and damages and unjustly and inequitably benefited Defendants.

        116.      On information and belief, as a direct, proximate, and reasonably foreseeablc

result, Munro lost the prospective opportunity for a large-scale exhibition of his works in a major

metropolitan area and the valuable commensurate publicity, engagement, specialty commissions,

private sales, revenues, and momentum for follow-on exhibitions regularly generated from

public exhibitions of Munro's large-scale, immersive, light-based works.

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        ll7.   Munro suffered actual damage or loss as a result of these wrongful interferences,

including the lost benefìts, fees, and publicity that would have accrued, lost revenues and profìts

from reasonably projected private sales and specially-commissioned works, and other economic

and non-economic damages.

        118,   Munro seeks to recover all damages and other relief to which Munro is entitled

for Defendants' tortious interferences with and usurpations of Munro's prospective business

opportunities and relationships and all benefits unjustly conferred upon or received by

Defendants.

                                        Count III
                                Common Law Misappropriation

        119.   Munro re-alleges the above paragraphs.

        120.   Munro's creationo exhibition, and promotion of the Munro works, including Field

oJ'Light@ and Forest of LighfrM, is a sizable component of Munro's endeavors and business.

        l2l.   As a provider of large-scale, lighrbased exhibitions, Defrndants and their agent

Mono directly compete with Munro for limited opportunities, spaces, and venues for the public

exhibition of large-scale, immersive works,

        122.   Munro expended substantial time, efforto labor, money, and other resources

conceiving, creating, developing, designing, making, promoting, displaying, and exhibiting the

Field of Lighl@ and Forest of LighfrM works and developing and refining the associated

exhibition processes and promotional models and methods,

        123.   To circumvent similar costs, impediments, delays, and potential risks and

uncertainties associated with attempts to conceive and develop a publicly-desired cxhibition

from scratch, Defèndants and Mono appropriated in whole or in part signifìcant aspects and

creative features of Munro's Field of Lighl@ and Forest of LighfrM works and related exhibition
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proccsses and promotional models and methods for their competitive, knock-off Light Forest

exhibition and associated Multimedia Campaign.

       I24.    Defendants and Mono have thus inequitably and unjustly obtained a free ride on

and benefited from Munro's prior efforts, which facilitated and allowed them to conduct their

Light Forest exhibition, craftthek Light Forest Multimedia Campaign that exploits the

exhibition, and market their their lucy@ apparel and stores under their campaign and in

connection with their exhibition.

        125.   Defendants' and Mono's conduct and activities violate the misappropriation

doctrine announced by the U,S. Supreme Court in Int'l News Service v. Associated Press, 248

U,S. 215 (1918) and as followed by U.S, Sporting Products,Inc. v. Johnny Stewart Game Calls,

Inc., 865 S.W, 2d 214 (Texas Ct. App., 10ü Dist. 1993).

        126.   Munro suffered injury and harm as a direct and proximate result of these

misappropriations.

        127.   Munro seeks to recover all damages and other relief to which Munro is entitled

for Defendants' misappropriation.

                                  Counts M V
                  Common Law Trademark and Trade Dress Infringement

        128.   Munro re-alleges the above paragraphs.

        129.   Munro owns and enjoys common law rights in Texas and throughout the United

States in and to the Munro Marks and Munro Trade Dress used in connection with Munro's

works and offerings, including the Field of Light@   and,   Forest of LighfrM marks and the unique,

signature, and acclairned Munro trade drcss reflcctcd in those two named works.




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         130.    The Munro Marks, including the Forest    o.f LighflM   mark, are inherently

distinctive or have achieved distinctiveness through secondary meaning so that the relevant

consuming public associates the Munro Marks with Munro and Munro's works.

         13l.    The Munro Trade Dress exemplified in the Field of Light@ and Forest of LighftM

works consists of non-functional features and design elements (a) that are inherently distinctive

or have achieved distinctiveness through secondary meaning so that the relevant consuming

public associates the Munro Trade Dress with Munro and Munro's works, and (b) that give the

Munro Trade Dress associated with Munro's Fietd of Light@ and Forest of LighfrM works and

with Munro a particular (and highly acclaimed) overall [ook, feel, and appearance. A2012

Washington Post article on Munro's Longwood Gardens exhibit notably acknowledged and

described it as a "recurring motif of lights on stalks" and Longwood's director lauded Field     of
Light@ and Forest of LighfrM as "something far more special than we ever imagined."

          132.   As a result of Munro's decades of work, promotional efforts, and exhibitions,

millions in the United States and around the globe have appreciated and been astounded by

Munro's Fietd of Lighl@ and Forest of Lightlv works and the signature Munro Trade Dress

inherent in those works, The widespread public recognition and association of the signature trade

dress   with Munro and its enviable ability to draw interest and attendees are evident. As the
'{lashington
               Posl noted, with little advertising Munro's 2012Longwood Gardens exhibition       of

Fietd of Light@ and Forest of Lighfrv drew over 300,000 visitors to the Gardens and boosted

attendance and revenues by 50%.

          133.   Defendants' use of the confusingly similar "Light Forest" moniker and distinctive

combination of features and elements of the Munro Trade Dress in connection withtheir Light

Forest exhibition, their Light Foresr Multimedia Campaign, and their branding initiatives,

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promotion, and sale of goods and products thereunder has and is likely to cauge confusion,

mistake, or deception as to the affiliation, connection, or association of the Defendants and their

offerings with Munro and/or as to the identity, origin, sponsorship or approval of Defendants'

Light Foresr exhibition(s), Light Forest Multimedia Campaign and associated sites,     /ucy@


Activewear retail stores and online outlets, and,lucy@ apparel such that the public will be likely

to associate or have associated such offerings with Munro.

        134.   On information and belief, the Defèndants' and Mono's unauthorized use of the

Munro Trade Dress, the Forest of LighfrM mark, and confusingly similar imitations thereof is

likely to and did: (a) cause confusion, mistake and deception; (b) cause the public to erroneously

believe that Defendants' offerings are the same as Munro's offerings or that Defendants or their

offerings are authorizedo sponsored, or approved by Munro or are affiliated, connected or

associated with or in some way related to Munro; and (c) result in the Defendants unfairly

benefiting and profiting from the reputation of Munro, the Munro works, the Munro Marks,

and the Munro Trade Dress all to the substantial and irreparable injury of the public, Munro, the

Munro Trade Dress, the Forest oJ'Lightrm mark, and the substantial goodwill represented by

such trade dress and mark.

        135.   This confusion causes irreparable harm to Munro and weakens the distinctive

qualities of the Munro Trade Dress and the Forest of LighfrM mark.

        136.   On information and belief, the Defendants and Mono adopted and used the Munro

Trade Dress and the Forest of LightrM mark while cognizant of Munro 's history of prior use of

the Munro Trade Dress and the Forest of Ligh[M mark. The Defendants' and their agents'

activities were willful acts in derogation of Munro's rights.




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        137.     On information and belief, the Defendants' conduct was commenced in spite         of

their knowledge that any unauthorized use of Munro's name, the Munro Trade Dresso the Forest

of LighfrM mark, or any reproductions, counterfeits, copies, or colorable imitations of such trade

dress, names and/or marks are violations of Munro 's rights.

        138.     On information and belief, the Defendants and their agent Mono continue to

knowingly and willfully capitalize on the good name, reputation, and goodwill of Munro and use

the Munro Trade Dress and the Forest of LighFM mark and confusingly similar imitations

thereof without permission or authority of Munro, with knowledge of Munro's protectable rights,

and in manifest violation of Munro's rights.

        139.     On information and belief, the Defendants' and their agent Mono's acts were

knowing, willful, and malicious.

        140,     On information and belief, the Defendants' (and agent Mono's) conduct

constitutes   willfuland intentional infringement of the Munro Trade Dress   and the Forest   of
LighfrM mark and was taken with conscious disregard of Munro's rights.

        I4l,     On information and belief, the Defendants and Mono have acted with reckless

disregard for Munro's rights or were willfully blind in connection with their unlawful activities.

        142.     On information and belief, the Defendants and Mono have been unjustly enriched

by illegally using and misappropriating Munro's intellectual property for their own financial gain

and have unfairly benefited and profited from usurping Munro's outstanding reputation and

previous efforts expended promoting, exhibiting, and publicizing the Munro Trade Dress and the

Forest of LighFM mark and their associated works.




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       143.    Munro has no control over the nature and quality of the products marketed or sold

or the events or brands promoted by the Def'endants or Mono bearing or under colorable

imitations and infringements of the Munro Trade Dress and the Forest of LightlM mark.

       144.    Defendants' activities constitute common law trademark infringement and trade

dress infringement, including under the laws of the State of Texas, and have harmed Munro.

       145,    Defendants and their agents acted in bad faith and with actual knowledge of the

famous Munro Marks, including specifically Forest oJ'LighfrM, and the fàmous and acclaimed

Munro Trade Dress.

        146.   Munro is entitled to recover all damages resulting from the infringements plus

Defendants' unjust benefits and gross profits on sales made or received under and during the

period of the infringements (including on all sales of   tucf   apparel for the duration   ol   the   Light

F ores t Multimedia Campaign).

        147.   Defendants' infringement   will continue unless enjoined by this Court.

        148.   Munro has no adequate remedy at law.

                                       Count VI & VII
                                False Designation of Origin and
                         Unfair Competition under 15 U.S.C. $ 1125(a)

        149.   Munro re-alleges the above paragraphs.

        150.   Defendants' (and Mono's) use of the term "Light       Forestoo and   combination       of

distinctive features and elements of the Munro Trade Dress into thetr Light Foresl exhibition and

associated Light Foresr Multimedia Campaign and related promotional materials constitutes a

false designation of origin which is likely to deceive and, upon information and belief, has

deceived the public, customerso and prospective customers into believing that the Defendants'

offerings are associated with, authorized by, or those of Munro, and as a consequence, are likely

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    to divert and have diverted customers (including but not lirnited to curatorso exhibitors, and

    attendees) away from Munro.

            151.   On information and belief, the Defendants and their agent Mono continue to

    attempt to capitalize on the good name, reputation, and goodwill of Munro.

            152.   The Defendants' acts alleged herein constitute use of a word, term, name, symbol,

    and a false designation of origin which is likely to cause confusion, or to cause mistake, or to

    deceive as to the afliliation, connection, or association of the Defèndants and Defendants' Light

    Forest exhibition(s), Light Forest Muttimedia Campaign (and associated sites), lucy@ Ãctivewear

    stores and outlets, and tucf apparel products with Munro, or as to the origin, sponsorship, or

    approval of the Defendants' goods, services, and commercial activities by Munro, in violation          of

    the Lanham Act, 15 U.S.C. $ 1125(a)(l)(A).

            153.   The Defendants' acts misrepresent the nature, characteristics, qualities, or origin

    of the Defendants' goods, services, or commercial activities in violation of the Lanham Act,

    l5 u.s.c. $ l12s(a)(1)(B).

            154.   The Defendants' conduct has caused and     if not   enjoined   will continue to cause

    irreparable damage to Munro, the Munro Trade Dress, the Munro Marks (including the Forest              of
    LighfrM mark), and Munro's trademark and trade dress rights, good name, reputation and

    goodwill in a manner that cannot be fully compensated by monetary damages.

            155.   Munro is entitled to recover Defendants' gross profits (including on all sales of

    Iucy@ apparel for the duration of the Multimedia Campaign), treble Munro's damages and

    detriment, and the cost of the action under 15 U.S.C. $ 1117(a) and to have all offending articles

    and their means of manufacture turned over and destroyed under        l5 U.S.C. $ 1118.



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         156,     Because this is an exceptional case, Munro is entitled to an award of reasonable

attorneys fees.

         157.     The Defendants' false designation of origin and unfair competition     will continue

unless enjoined by this Court.

         158.     Munro has no adequate remedy at law.

                                     Count VIII & IX
                  Trademark & Trade Dress Dilution Under 15 U.S.C. $ 1125(c)

         159.     Munro re-alleges the above paragraphs.

         160.     Munro's Forest oJ'LightrM name and mark became famous before any

Defendant's or their agent Mono's adoption or use of that or any confusingly similar term such

as   "Light Forest.'n The Munro Trade Dress associated with     the   Field of Light@ and Forest of

Lightlrworks      and   with Munro became famous before any Defendant's or their agent Mono's

use or adoption of that or any similar trade dress elements or overall look, feel, and appearance,

         l6l.     Defendants' conduct, including the adoption and use of the "Light Forest"

moniker and signature Munro Trade Dress elements, has reduced the capacity of Munro's

famous Forest of LighfrM name and mark and the Munro Trade Dress to identifr and distinguish

Munro's workso exhibitions, promotions, and sanctioned events and merchandise.

          162.    Defendants' (and Mono's) acts described herein constitute dilution of Munro's

famous Forest of LighfrM name and mark and of the famous Munro Trade Dress in violation               of

the Lanham      Act,   15 U.S.C. $ 1125(c). Defendants' and their agent   Mono's activities constitute

dilution both by bluning and by tarnishment of Munro's famous Forest of LighfrM name and

mark and of the famous Munro Trade Dress.




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       163.       On information and belief, Defendants and their agent Mono willfully intended to

trade on Munro's reputation and to cause dilution of Munro's fämous Forest of LighttM name

and mark and of the famous Munro Trade Dress,

       164.       Munro is entitled to injunctive relief against Defendants under 15 U.S.C.        $


1125(c)(1) and to all additional remedies allowed under 15 U.S.C, $ 1 125(c)(5),

        165.      Under 15 U.S,C. $ I125(c)(5) and because Defendants acted inequitably,

deceptively,   willfully,   and in bad faith, Munro is entitled to recover Defendants' gross profits

(including on all sales of tucy@ apparel for the duration of the Multimedia Campaign), treble

Munro's damages and detriment, and the cost of the action under 15 U.S,C. $ I 1 17(a) and to

have all offending articles and their means of manufacture turned over and destroyed under 15

u.s.c. $ l118.

        166.      Because this is an exceptional case, Munro is entitled to an award of reasonable

attorneys fees.

        167,      The Defendants' conduct has caused and,          if not enjoined, will continue to cause,

irreparable damage to Munro's famous Forest of LighFM name and mark, the Mun¡o Trade

Dress, and Munro's trademark and trade dress rights, good name, reputation, and goodwill in

manners that cannot be calculated or compensated by monetary damages.

        168.      The Defendants' dilutive activities     will   continue unless enjoined by this Court.

        169.      Munro has no adequate remedy at law.

                                        Count X & XI
                    Injury to Business Reputation and Dilution of Famous
               Trademarks & Trade Dress under Tex. Bus. & Com. Code $ 1ó.103

        170.      Munro re-alleges the above paragraphs.



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        17L     The famous Munro Trade Dress and Forest of LighflM markhave distinctive

qualities, which have become associated in this State and elsewhere with Munro and Munro's

standards of high quality,

        172.    Through the Defendants' and their agent Mono's use of the Munro Trade Dress

and Forest   of LighfrM mark and confusingly similar imitations thereof; there exists a likelihood

of injury to Munro's business reputation and a likelihood of dilution of the distinctive qualities of

the famous Munro Trade Dress and Forest of LighflM mark in violation of Tex. Bus.       & Com.

Code Ann, $ 16.103.

        173.    The Defendants' commercial use of the Munro Trade Dress and Forest of LighfrM

mark or colorable imitations thereof in connection with their exhibition, merchandise, brands,

and stores and in their advertising and promotional materials began after the Munro Trade Dress

and Forest of LighfrM mark became famous and has and is      diluting the distinctive quality of the

Munro Trade Dress and Forest of LighfrM mark and injuring Munro's good name,

        174.    Defendants' (an their agent Mono's) activities constitute injury to business

reputation and dilution by blurring and tarnishment under Texas law. See Tex. Bus, & Con¡.

Cooe $ 16,103,

        175.    Munro is entitled to injunctive relief against Defendants under Tux. Bus. &    Cotr¿.


Cooe $ 16.103,

        176.    Because Defendants and Mono      willfully intended to cause the dilution and acted

inequitably, Munro is entitled under $ 16.103 to the additional remedies allowed under Tex.

Bus. & Cotr¿, Cooe $ 16.104, including all of Defendants' profits derived from and Munro's

damages resulting from Defendants' wrongful acts and to the destruction of all imitations in or

under the control of Defendants.
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        177,   Under Tsx. Bus. & Cotr¿. Coon $ 16.104 and because Defendants (and Mono)

acted inequitably, deceptively,   willfully, in bad faith, and with knowledge of the Munro   Trade

Dress and the Forest of LighfrM mark, Munro is entitled to an award of three times the amount        of

Defendants' gross profits (including on all sales of lucy@ apparel for the duration of the

Multimedia Campaign) and Munro's damages and detriment, plus to also recover Munro's

reasonable attorney' s fees.

        178.    Defendants (and agent Mono)     will continue injuring Munro's business reputation

and diluting Munro Trade Dress and the Forest of LighfrM mark unless enjoined by this Court.

        179.    The Defendants' conduct has caused and,    if not enjoined, will continue to cause,

irreparable damage to Munro's Forest oJ'Lightruname and mark, the Munro Trade Dress, and

Munro's trademark and trade dress rights, good name, reputation, and goodwill in     a manner that


cannot be calculated or compensated by monetary damages.

        180,    Munro has no adequate remedy at law.

                                           Count XII
                                  Common Law Unfair Competition

        181.    Munro re-alleges the above paragraphs.

        182.    Defendants have used, infringed, and diluted the Munro Marks and Munro Trade

Dress without authorization; misappropriated Munro's time, labor, skills, and efforts and the

fruits thereof for selÊserving competitive purposes and advantages; tortiously interfered with and

usurped Munro's business opportunities and relationships; and acted dishonestly, unethically,

and fraudulently towards Munro, including on competitive matters.

        183.    Defendants actions maliciously interfered with Munro's ability to properly and

fully conduct Munro's affairs and business endeavors in    an unimpeded fashion.


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       184.    Defendants are guilty of unfair competition and other unfair trade practices in

violation of the Texas common law of unfàir competition,

       185.    Munro suffered injury and harm as a direct and proximate result of this unfair

competition.

       186.    Munro seeks to recover all damages and other relief, including unjust enrichment,

to which Munro is entitled for Defendants' unfair competition.

                                            Count XIII
                                            Conspiracy

        187,   Munro re-alleges the above paragraphs.

        188.   Defendants' and Mono's actions and activities alleged herein constitute a

combination to accomplish an unlawful purpose or a lawful purpose by an unlawful means,

which was agreed to by Defendants and Mono, thereby constituting a conspiracy.

        189.   Each and every Defendant is equally and vicariously liable to Munro f'or the

damages proximately caused by the actions described herein.

                                           Count XIV
                                        Unjust Enrichment

        190.   Munro re-alleges the above paragraphs.

        191.   Defendants have directly or indirectly received funds and other valuable benefits

to which they were not rightfully or equitably entitled as a result of the alleged actions.

        192. Defendants inequitably     profited and benefited from their adoption and use of

imitations of the Munro Marks and Munro Trade Dress, misappropriation of Munro's efforts,

usurpations of and interferences with Munro's business opportunities, and fraudulent and

deceptive conduct.



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           193.   Defendants have been unjustly enriched and have inequitably benefited and

profited and as a direct and proximate result of Defèndants' and their agents' actions, conduct,

statements, representations, omissions, promises, and breaches described herein.

           I94.   It would be inequitable and unjust for Defendants to retain these profits and

benefits, which Defendants wrongfully obtained at Munro's detriment.

           195,   Munro is equitably entitled to recover and be awarded a sum amounting to the

value of all inequitable or unjust benefits, profìts, or enrichment obtained by these Def'endants      as


a result   of their actionable activities alleged herein.

                                               Count XV
                                            Constructive Trust

           196.   Munro re-alleges the above paragraphs.

           lg7.   To protect Munro's rightful interests, Munro is entitled to and the Defendants'

and their agents' actions necessitate imposition of a constructive trust over all profits, funds, and

proceeds received or generated by Defendants in connection with their use of imitations of the

Munro Marks and Munro Trade Dresso misappropriation of Munro's efforts, usurpations and

interferences with Munro's business opportunities, fraudulent and deceptive conduct, and other

wrongful conduct alleged herein.

           198.   Munro requests that a constructive trust be equitably imposed in fàvor of Munro

over all such sums and benefits and any proceeds thereof unjustly obtained or received by the

Defendants (including over all sales of /øcy@ apparel during the duration    of   the   Light Forest

exhibition and Light Foresl Multimedia Campaign and the proceeds thereof).

           199.   To prevent further immediate and irreparable harm, the Court should immediately

enjoin any disposition by Defèndants of any such funds,

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                                            Count XVI
                                            Accounting

         200.   Munro re-alleges the above paragraphs.

         201.   Munro is entitled to an accounting from Defendants.

                                            Willfulness

         202,   Defendants' and their agent Mono's actions, conduct, statements, representations,

omissions, promises, breaches, and tortious actions described herein have been intentional and

willful in nature.

         203,   Defendants' and their agent Mono's actions, conduct, statements, representations,

omissions, promises, breacheso and tortious actions described herein were taken with knowledge

of Munro's prospective business opportunities and rights (including rights in and to the Munro

Marks and Munro Trade Dress) and in malicious disregard of such rights.

                                Damages    & Exemplary Damages

         204,   Munro has been damaged and suffered injuries as a direct and proximate result of

Defendants' and their agents' actions, conduct, statements, representations, omissions, promises,

breaches, and tortious activities described herein.

         205,   Munro has suffered actual, direct, consequential, incidental, nominal, presumed,

general, special, economico non-economic, and other damages as alleged herein.

         206.   Munro is entitled to recover against Defendants for these damages and injuries.

         207.   Munro is also entitled to recover exemplary damages from Defendant on its

claims herein as allowable under the Chapter 41 of Texas' Damages Act. See, e.g" Tex. Civ.

Prac.   & Rem. Code   $ 41,008, Defendants' (and   their agents') actions were committed with

conscious indifference and malice toward Munro, were the result of actual fraud perpetuated by

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them on Munro, and Defendants and their agents had specific intent to cause substantial injury or

harm to Munro. Munro is entitled to.recover as exemplary damages twice the amount            of

economic damages, plus any noneconomic damages (up to $750,000). Because Defendants' and

their agents' conduct meets the parameters of Tex. Civ. Prac. & Rem. Code $ 41.008(c)(13), et

seq., no cap applies to the exemplary damages awardable to Munro on economic and non-

economic damages and a jury is entitled to impose a suitable exemplary damages award within

its discretion.

                                 Injunctive Relief & Specific Performance

        208.      Munro is entitled to specific performance and injunctive relief on matters and

claims alleged herein, for which there is no adequate recovery as a matter of law.

        209.      Defendants' wrongful conduct caused and is causing Munro irreparable harm and

will continue unless      enjoined by this Court.

        210.      Munro is entitled to and requests temporary, preliminary, and permanent

injunctive relief ordering Defendants and their agents to immediately and permanently: (a) cease

use of any marks confusingly similar to or dilutive of Munro's Marks, including the terms Forest

of LighfrM, Fietd of Lighl@,
                                  *Light Forest" or any substantially similar monikerso and turn over or

destroy all articles or advertising bearing any confusingly similar or dilutive marks; (b) cease use

of any trade dress confusingly similar to or dilutive of Munro's Trade Dress, including uses

exemplified ìnthe Light Forest exhibition and Multimedia Campaign or others imitating

Munro's Forest     oJ'   Lightru or Field of Light@ works, and turn over or destroy all articles or

advertising incorporating or derived from the exploitation of any confusingly similar or dilutive

trade dress; (c) discontinue the Light Foresr Muttimedia Campaign, turn over, destroy, andJor

take down all associated images, graphics, photos, and copy in any catalogs or print materials or
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from any wcb, online, mobile or social media sites or services under their control, cancel any

planned Light Foresr exhibitions, and remove any in-store replicas; (d) return and destroy all

copies of all materials and information received from Munro under promises of confidentiality;

and (e) cease any branding, advertising, or merchandising operations or competitive promotional

or exhibition activities that utilized any such information or above-identified materials, marks, or

trade dress to unfairly compete with Munro's exhibition or promotion of Munro's Forest       of

LightlM, Field of LighflM, or other works or Munro's related business activities.

        2It.   Munro requests that Defendants be ordered pursuant to the Lanham Act and

Texas law to turn over for destruction all offending goods, articles, advertising, reproductions, or

colorable imitations and all means and equipment that were used to make them. See 15 U,S.C.        $


1118; Tex. Bus,   & Com, Code Ch.    16.


                                      Costs   & Attorneys   Fees

        212,   Munro made written demand on Defendants to discontinue the complained of

conduct and activities and take remedial action, but they refused. The written demand was made

more than thirty (30) days before the filing of this Petition.

        213,   As a result of Defendants' actionso Munro retained counsel to recover and seeks

reimbursement for its reasonable costs and attorneys' fees.

        214.    Defendants' and their agents' actions, including their infringement, false

designation of origins, and dilution of the Munro Marks and the Munro Trade Dress, and

associated injury to Munro's business reputation, were committed    willfully, in bad faith, and

with knowledge of Munro's rights, the Munro Markso the Munro Trade Dress, and Munro's

Forest of LighfrM and Field of Light@ works and exhibitions. Accordingly, this action constitutes

an exceptional case and Munro is entitled to recover reasonable costs and attorneys' fees. E,9.,
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l5 U.S.C. $$ I117(a)(3), Il25(a),1125(c); Tex. Bus. Com. Code $$ 16.103 - ,104.

                                              Disclaimer

        215.    For the avoidance of doubt, all of Munro's allegations and claims are pleaded in

the alternative to the extent of any inconsistency.

                                                  Prayer

        Accordingly, Munro asks to be awarded judgment against Defendants for the following:

        a.      all damages, exemplary damages, enhanced damages, and other legally

        permissible damages or recoveries allowed by law, statute, or equity;

        b.      an accounting and recovery ofDefendants' gross profits onlucy@ apparel sales

        and all amounts by which Defendants have been unjustly enriched or benefited;

        c.      specific performance, declaratory relief, and temporary, preliminary and

        permanent injunctive relief as alleged;

        d.      seizure and destruction of any offending articles, advertising, and the equipment

        used to make them;

        e.      imposition of a constructive trust and other equitable remedies;

        f.      pre-judgment and post-judgment interest at the maximum legal rate;

        g,      costs and attorneys' fees; and,

        h.      all other relief to which Munro may be entitled or as the court may deem just,

equitable, necessary, proper or appropriate under the circumstances,

                                            Jury Demand

        Munro requests a jury trial under Tex. R. Civ. P, 216 and Tex. Gov. Code $ 51.604(a) on

all issues so triable in this action and shall tender the appropriate fee.



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                                     Request for Disclosure

       Pursuant to Rule 194 of the Texas Rules of     Civil Procedure,   each Def'endant shall   within

30 days from the service of this request (and not later than 50 days from service of a petition

containing this request) disclose the information and materials described in Rule 19a.2(a)-(l)       of

the Texas Rules of Civil Procedure and produce copies of all responsive documents required

under Rule 194,

                  Requests for Production, Admissions, and Interrogatories

       Pursuant to the Texas Rules of Civil Procedure, Munro requests that within 30 days from

the service of this request (and not later than 50 days from service of   a   petition containing this

request) each Defendant respond to the following interrogatories and requests for admissions and

produce for inspection, review, and copying at the undersigned counsel's office the following

documents and tangible things, including any electronically stored information. Terms used

below shall have the identical meaning ascribed to them in the Petition above.

       Interrogatory No. 1: Describe your relationship to, supervisory responsibilities in or
over, and any ownership or management interest în the tucy@ Activewear stores and tucy@
apparel brand.

        Interrogatory No. 2: For the time period beginning when the Light Foresl exhibition
was first promoted or made accessible to mcmbers of the public and cnding when all vestiges of
the associated Multimedia Campaign were removed from and no longer available or accessible
to any members of the public via any Defendant-controlled source (including via any of
Defendant's website(s)), state by month and product the total amount of sales madeby lucy@
Activewear stores (including online outlets and brick-and-mortar locations) or under the lucy@
apparel brand.

        Interrogatory No. 3: Provide a calculation of the profits earned on the sales identified in
response to Interrogatory No. 2 and state and itemize the basis for those calculations, including
for any deduction(s) fiom gross sales revenues.

        Interrogatory No. 4: Separately state all amount(s) paid to Mono Advertising, LLC for
or in connection with (a) the Light Foresl exhibition, or (b) the Light Forest Multimedia
Campaign.
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      Interrogatory No. 5: Describe the factual and legal basis for any defense(s) you assert to
Munro's claims alleged in this Petition or lawsuit,

        Request for Production No. 1: Please produce all documents referenced, reviewed, or
relied upon to prepare your responses to Interrogatories Nos, 2 through 4.

        &eqUeùt_fof lfqdgçtiqU N!¿. Please produce all commercial general liability policies,
insurance policies, indemnification agreements, or other agreements providing indemnihcation
or coverage for any matters or claims alleged in this Petition or lawsuit,

      Request for Production No. 3. Please produce all agreements with Mono Advertising,
LLC or MDC Partners, Inc., all drafts thereof, and any related correspondence.

        Reqlrest for Production No. 4. Please produce any communications between Mono
Advertising,LLC and any Defendant and all documents related to or concerning either (a)
Munro, Munro's Fietd of Light@, Forest of LighflM, or other works, or Munro's exhibitions; (b)
the Light Forest exhibition (including any sketches, drafts, plans, designs, materials referenced to
design, images of promotion of, permits or approvals for, agreements concerning, or
communications with any agents, contractors or governmental agencies regarding the same), or
(c) the Light Foresr Multimedia Campaign (including pitch session materials, sketches and drafts
thereof, and materials referenced or relicd on for any pitches or exhibition designs; approvals for
or consideration of approval of the campaign or any exhibition designs; draft and final campaign
and exhibition design plans, proposals, promotions, fìnancial projections and budgeting; any
analyses of the exhibition, the campaign, or their effectiveness; and any flrnancial data regarding
sales or revenues rnade under or received in any way related to the campaign or the exhibition).

       Request for Admission No. 1: Admit or deny that you retained and hired Mono
Advertising, LLC to create and develop the Light Foresr exhibition and the Light Forest
Multimedia Campaign.

       Request for Admission No. 2: Admit or deny that Mono Advertising,LLC is your agent
and you are responsible for Mono Advertising, LLC's actions and statements made in connection
with the Light Fores¿ exhibition and the Light Forest Multimedia Campaign.

        Request for Admission No.3:Admit or deny that Mono Advertising,LLC referenced,
refcrred too or reviewcd materials provided by Munro's Austin-based representative when
pitching, creating and designing the Light Foresr exhibition and the Light Fores¿ Multimedia
Campaign.

        Request for Admission No. 4: Admit or deny that you approved the Light Forest
cxhibition and the Light Foresl Multimedia Campaign.

       Request for Admission No. 5: Admit or deny that by September 2014 you had received
a demand from Munro to "immediately and permanently (a) cease any and all use of Munro's
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Forest of LighfrM or Field of Light@ or derivatives thereof, (b) cease any and all use of any marks
confusingly sirnilar to Munro's Forest of LighfrM or Field of Light@ marks, including the term
"lucy Light Forest" or any substantially similar monikers; (c) discontinue the lucy Light Forest
campaign, take down all associated images, graphics, photos and copy from any web, online,
mobile or social media sites or services under your control, cancel any planned exhibitions, and
remove any in-store replicas; (d) retum all materials and information received from Munro under
promises of conf,rdentiality; and (e) cease any branding, advertising or merchandising operations
or competitive promotional activities that utilized any such information to unfairly compete with
Munro's exhibition or promotion of Forest of LighflM or Field of Ligh[M and Munro's related
business activities."

      Request for Admission No. 6: Admit or deny that you did not comply with Munro's
demand referenced in Request for Admission No. 5 by April 1,2015.

        Request for Admission No. 7: Admit or deny that as of      April I,2015,the
wu@websiteassociatedwiththeLightForesrMultimediaCampaign
remained active and displayed images from and of the Light Foresr exhibition.

        Request for Admission No. 8: Admit or deny that the subject matter of the lucy@ Light
Forest exhibition was a large-scale, immersive, light-based work or creation consisting of an
array of over 10,0000 end-lighted stems with variably lit bulbs traversably laid out upon a
predominantly green space ,

       Request for Admission No. 9: Admit or deny that over 100,000 persons visited the Light
Forest exhibition.

      Request for Admission No. 10: Admit or deny that the Light Foresr Multimedia
Campaign has generated at least approximately 307,000,000 PR media impressions,

                                      Re   spectfully submitted,

                                      LAW OFFICES OF CARL F, SCHWENKER

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